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                    IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF OREGON

                                  EUGENE DIVISION


Elizabeth HUNTER; et al.,
                                                                  Case No. 6:21-cv-00474-AA
                                Plaintiffs,
                                                                  NOTICE OF PLAINTIFFS
                                      v.                          JOANNA MAXON AND
                                                                  NATHAN BRITTSAN’S
                                                                  VOLUNTARY DISMISSAL
DEPARTMENT OF EDUCATION; and Catherine                            WITH PREJUDICE
LHAMON, in her official capacity as Assistant Secretary for       PURSUANT TO F.R.C.P.
the Office of Civil Rights, U.S. Department of Education,         41(a)(1)(A)(i)
                                Defendants,


 COUNCIL FOR CHRISTIAN COLLEGES &
 UNIVERSITIES, WESTERN BAPTIST COLLEGE
 d/b/a CORBAN UNIVERSITY, WILLIAM JESSUP
 UNIVERSITY AND PHOENIX SEMINARY,
                                Intervenor-Defendants.



                                                         Religious Exemption Accountability Project
                                                                         Paul Southwick Law, LLC
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                 NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
                         PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)
   Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiffs Joanna Maxon and Nathan

Brittsan, through their undersigned counsel, hereby give notice that their claims in the above-styled

action are voluntarily dismissed, with prejudice, against the Defendants and Intervenor-Defendants.

Notice of dismissal pursuant to Rule 41(a)(1)(A)(i) is proper because no opposing party has filed an

answer or motion for summary judgment.

   Dated: February 18, 2022

                                                               s/ Paul Carlos Southwick

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   2PLAINTIFFS MAXON AND BRITTSAN’S NOTICE OF VOLUNTARY DISMISSAL
                                           Religious Exemption Accountability Project
                                                                               Paul Southwick Law, LLC
